Case 18-72918-FJS               Doc 24 Filed 11/10/18 Entered 11/11/18 00:28:02             Desc Imaged
                                      Certificate of Notice Page 1 of 3
                                      United States Bankruptcy Court
                                        Eastern District of Virginia
                                               Norfolk
                                          ________________ Division

    In re: Jerry-Robinson Bey
                                                                                18-72918-FJS
                                                                   Case Number ________________
             Debtor(s)                                             Chapter ____
                                                                           7

                                                   ORDER

                                 November 6, 2018
           A hearing was held on ______________________, pursuant to the Order Setting Hearing
    entered by the Clerk.

    ✔   The debtor(s) appeared at the hearing.

        The debtor(s) did not appear at the hearing.

        Counsel for the debtor(s) appeared at the hearing.

             For the reasons stated on the record from the bench, the Court ORDERS:

    ✔   The debtor(s) shall cure the following deficiency(ies) on or before    ____________________

         ✔   see attached Exhibit A:




    Failure to timely cure each deficiency listed above will result in the above-captioned
    bankruptcy case being dismissed without further notice or hearing.

        The case is dismissed because the debtor(s) failed to appear at the hearing; and it is further

        The case is dismissed; and it is further

          ORDERED that the debtor(s) pay the balance of the filing fee in the amount of
    $______________
           n/a      to the Clerk of Court within 14 days of the date of this order; and it is further

           ORDERED that dismissal of this case revests the property of the estate in the entity in
    which such property was vested immediately before the commencement of the case. The trustee
    need not file a final report unless property or money was administered.

          Nov 8 2018
    Date: ____________________                     /s/ Stephen C. St.John
                                                   _________________________________
                                                   United States Bankruptcy Judge

                                                   NOTICE OF JUDGMENT OR ORDER
                                                                      Nov 8 2018
                                                   ENTERED ON DOCKET: ___________________
    [opursosethrg ver. 07/18]
Case 18-72918-FJS       Doc 24 Filed 11/10/18 Entered 11/11/18 00:28:02                  Desc Imaged
                              Certificate of Notice Page 2 of 3
    Exhibit A
    The debtor shall attend a rescheduled Section 341 meeting of creditors on the date, time, and at
    the location set forth in the memorandum to be issued by the Clerk of the Court. The debtor must
    give notice of the rescheduled Section 341 meeting to all creditors and parties in interest within
    7 days of obtaining the rescheduled date.

    The deadlines that run from the date of the Section 341 Meeting of Creditors shall be extended
    to 30 days from the rescheduled Section 341 meeting of Creditors as to all creditors and parties
    in interest.

    Failure to comply with the Court's Order will result in dismissal of the case without further
    notice or hearing.
        Case 18-72918-FJS             Doc 24 Filed 11/10/18 Entered 11/11/18 00:28:02                                Desc Imaged
                                            Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                               Eastern District of Virginia
In re:                                                                                                     Case No. 18-72918-FJS
Jerry-Robinson Bey                                                                                         Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0422-8                  User: paizl                        Page 1 of 1                          Date Rcvd: Nov 08, 2018
                                      Form ID: pdford9                   Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 10, 2018.
db             +Jerry-Robinson Bey,   3837 Peach Orchard Circle,   Portsmouth, VA 23703-2510

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: ustpregion04.no.ecf@usdoj.gov Nov 09 2018 03:33:01      UST smg Norfolk,
                 Office of the U. S. Trustee,   200 Granby Street, Room 625,    Norfolk, VA 23510-1814
                                                                                             TOTAL: 1

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 10, 2018                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 8, 2018 at the address(es) listed below:
              Clara P. Swanson   clara.swanson@verizon.net, clarapswanson@yahoo.com;va10@ecfcbis.com
              John P. Fitzgerald, III   ustpregion04.no.ecf@usdoj.gov
                                                                                            TOTAL: 2
